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                IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                             NO. 4:08CR00314-002 SWW

REVERIANO MADRIGAL



                                        ORDER

      Pending    before   the   Court    is   government's     motion   to   dismiss

indictment against defendant, Reveriano Madrigal, pursuant to Rule 48(a)

of the Federal Rules of Criminal Procedure.

      IT IS SO ORDERED that the government’s motion to dismiss indictment

against the above-named defendant be GRANTED, and the indictment pending

against defendant Reveriano Madrigal is dismissed without prejudice.

      DATED this 1st day of June 2011.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
